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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

WENDELL SHANE MACKEY,

      Plaintiff,
                                             Case No. 2:17-cv-12359-BAF-DRG
v.
                                             HON: BERNARD A. FRIEDMAN

JAMES MICHAEL BERRYMAN,
Mayor of the City of Adrian, Michigan;
MARGARET M.S. NOE, Judge of the
Lenawee County Circuit Court,

      Defendants.
___________________________________________/
HADDAD LAW FIRM PLC
ISSA HADDAD (P71699)
Attorney for Plaintiff
30600 Telegraph Road, Suite 4280
Bingham Farms, MI 48025-4550
(248) 633-8500

JOHNSON, ROSATI, SCHULTZ & JOPPICH P.C.
CHRISTOPHER J. JOHNSON (P32937)
Attorney for Defendant Margaret M.S. Noe
27555 Executive Drive, Suite 250
Farmington Hills, MI 48331
(248) 489-4100
cjohnson@jrsjlaw.com
_____________________________________________/

            DEFENDANT MARGARET NOE'S ANSWER TO
         PLAINTIFF'S COMPLAINT, AFFIRMATIVE DEFENSES,
               AND RELIANCE UPON JURY DEMAND
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       NOW COMES Defendant, the Honorable Margaret M.S. Noe, by and

through her Attorneys, JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C. by

CHRISTOPHER J. JOHNSON and in Answer to Plaintiff's Complaint, states as

follows:

              A.      INTRODUCTION

       1.     This Defendant denies the allegation contained therein for the reason

that it is untrue.

       2.     This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

       3.     This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant. To the extent that the allegation

suggests participation by this Defendant, she denies the allegations contained

therein.

       4.     This Defendant denies the allegation in the manner and form pleaded.

This Defendant only acted in her capacity as a Lenawee County Circuit Court

Judge and issued an Order on a Petition brought before her.

       5.     This Defendant neither admits nor denies the allegations that are

directed to another Defendant and affirmatively denies that she violated any of

Plaintiff's rights.




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                                 JURISDICTION

      6.     This Defendant neither admits nor denies the allegations contained

therein for the reason that same are Plaintiff's statement of law and require no

answer.

                                      VENUE

      7.     This Defendant neither admits nor denies the allegations contained

therein for the reason that same are Plaintiff's statement of law and require no

answer.

                                     PARTIES

      8.     Upon information and belief, this Defendant admits the allegation

contained therein.

      9.     This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      10.    This Defendant admits that she is a sitting Lenawee County Circuit

Court Judge and that she is sued in her official capacity. This Defendant denies the

balance of the allegations contained therein.

                          COMMON ALLEGATIONS

      B.     ExposingAdrian.com

      11.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.


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      12.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      13.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      14.    This Defendant neither admits nor denies the allegations, including

sub-paragraphs (A) through (I) for the reason that she is without sufficient

information to answer.

      15.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      16.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      17.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      C.     Letter to the Editor

      18.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      19.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      20.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.


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      21.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      D.     The Exchange at the June 19, 2017 City Commission Meeting

      22.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      23.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      24.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      25.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      26.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      27.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      28.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      29.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.




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      30.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      31.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      32.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      33.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      34.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      35.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      36.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      37.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      E.     Attempt to Jail Plaintiff for Political Criticism

      38.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.




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      39.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      40.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      41.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      42.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      43.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      F.     The Exchange at the July 3, 2017 City Commission Meeting

      44.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      45.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      46.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      47.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.




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      48.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      49.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      50.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      51.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      G.     The July 5, 2017 Electronic Mail to the City Attorney

      52.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      53.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      54.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.

      55.    This Defendant neither admits nor denies the allegations contained

therein that are directed to another Defendant.




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       H.     The July 6, 2017 Personal Protection Order

       56.    This Defendant admits that on July 6, 2017, Defendant Berryman filed

a Petition for a Personal Protection Order seeking an Ex Parte Personal Protection

Order and that the contents of the court file speaks for itself.

       57.    This Defendant denies the allegations in the manner and form pleaded

and affirmatively states that the Petition speaks for itself.

       58.    This Defendant neither admits nor denies the allegations contained

therein since they are directed to another Defendant.

       59.    This Defendant neither admits nor denies the allegations contained

therein, including sub-paragraphs (A) through (G) for the reason that same are

directed to another Defendant.

       60.    This Defendant admits that she entered a Personal Protection Order on

July 7, 2017 and denies the balance of the allegations in the manner and form

pleaded. This Defendant affirmative states that the Order itself notified Plaintiff

that he could file a motion to modify or terminate the order as long as the motion

was filed within fourteen (14) days after being served with the order.

       61.    This Defendant denies the allegation contained therein for the reason

that it is untrue.

       62.    This Defendant denies the allegation in the manner and form pleaded.

This Defendant affirmatively states that the Order speaks for itself.


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       63.    This Defendant denies the allegation contained therein for the reason

that it is untrue.

       64.    This Defendant denies the allegations in the manner and form

pleaded. This Defendant affirmatively states that she relied upon the information

contained in the Petition, only.

       65.    This Defendant denies the allegation contained therein for the reason

that it is untrue.

       66.    This Defendant denies the allegations in the manner and form

pleaded.     This Defendant affirmatively states that in Michigan, a Personal

Protection Order may be granted Ex Parte.

       67.    This Defendant denies the allegations in the manner and form

pleaded.     This Defendant affirmatively states that in Michigan, a Personal

Protection Order may be granted Ex Parte.

       68.    This Defendant denies the allegations in the manner and form

pleaded.     This Defendant affirmatively states that in Michigan, a Personal

Protection Order may be granted Ex Parte.

       69.    This Defendant denies the allegation contained therein for the reason

that it is untrue.

       70.    This Defendant denies the allegation contained therein for the reason

that it is untrue.


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      G.[SIC]      The July 8, 2017 Electronic Mail to the City Attorney

      71.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      72.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      73.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      H.[SIC]      The July 18, 2017 NAACP Candidate's Forum

      74.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      75.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      76.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      77.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      78.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      79.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.


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      80.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      81.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      82.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      83.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      84.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      85.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      86.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.

      87.    This Defendant neither admits nor denies the allegation for the reason

that she is without sufficient information to answer.

      88.    This Defendant neither admits nor denies the allegations contained

therein for the reason that same are directed to another Defendant.




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                           LEGAL CLAIMS
         COUNT I - ALLEGED VIOLATION OF 42 USC SECTION 1983
           VIOLATION OF FIRST AMENDMENT - RETALIATION

       89.    Defendant repeats and realleges her answers to paragraphs 1 through

88 above as if more fully set forth herein and same are adopted by reference.

       90.    This Defendant admits that she was acting in her official capacity as a

Circuit Court Judge acting under color of state law. She neither admits nor denies

the balance of the allegation contained therein for the reason that it is directed

toward another Defendant.

       91.    This Defendant neither admits nor denies the allegations for the

reason that she is without sufficient information to answer.

       92.    This Defendant denies the allegations contained therein, including

sub-paragraphs (A) through (M) for the reason that it is untrue.

       93.    This Defendant denies the allegation contained therein for the reason

that it is untrue.

       94.    This Defendant denies the allegation contained therein for the reason

that it is untrue.

       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.




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       COUNT II - ALLEGED VIOLATION OF 42 USC SECTION 1983
            VIOLATION OF FOURTEENTH AMENDMENT
                     PROCEDURAL DUE PROCESS


      95.    Defendant repeats and realleges her answers to paragraphs 1 through

94 above as if more fully set forth herein and same are adopted by reference.

      96.    This Defendant admits that she was acting in her official capacity as a

Circuit Court Judge acting under color of state law. She neither admits nor denies

the balance of the allegation contained therein for the reason that it is directed

toward another Defendant.

      97.    This Defendant denies the allegations in the manner and form

pleaded. This Defendant affirmatively states that the State of Michigan has a

process for issuing Personal Protection Orders including Orders that are issued Ex

Parte. Additionally, this Defendant affirmatively states that on July 14, 2017, the

Plaintiff filed a Motion to Set Aside the Personal Protection Order and that the

hearing was scheduled for July 26, 2017. Unknown to this Defendant at the time,

Plaintiff filed this action in Federal District Court on July 21, 2017 which was not

served until the evening before the hearing, July 25, 2017. As a result of Plaintiff

filing the litigation in Federal Court, she recused herself from hearing the matter on

July 26, 2017. While Plaintiff asked the other Circuit Judge to hear the matter, that

Circuit Judge also recused herself since this Defendant is the Chief Judge of the

Circuit and has supervisory authority over the other Circuit Court Judge. As a
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result of this lawsuit, the Michigan Supreme Court Administrator's Office will

have to assign another Circuit Court Judge to the matter (which at the time of this

writing is unknown) and delay in having the matter heard is the actions taken by

the Plaintiff.

       98.       This Defendant denies the allegation contained therein for the reason

that it is untrue.

       99.       This Defendant denies the allegation contained therein for the reason

that it is untrue.

       100. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       101. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       102. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       103. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       104. This Defendant denies the allegation contained therein for the reason

that it is untrue.




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       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.

        COUNT III - ALLEGED VIOLATION OF 42 USC SECTION 1983
             VIOLATION OF FOURTEENTH AMENDMENT
                      SUBSTANTIVE DUE PROCESS

       105. Defendant repeats and realleges her answers to paragraphs 1 through

104 above as if more fully set forth herein and same are adopted by reference.

       106. This Defendant admits that she was acting in her official capacity as a

Circuit Court Judge acting under color of state law. She neither admits nor denies

the balance of the allegation contained therein for the reason that it is directed

toward another Defendant.

       107. This Defendant neither admits nor denies the allegations contained

therein for the reason that same are Plaintiff's statement of law and require no

answer.

       108. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       109. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       110. This Defendant denies the allegation contained therein for the reason

that it is untrue.


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       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.

        COUNT IV - ALLEGED VIOLATION OF 42 USC SECTION 1983
             VIOLATION OF FOURTEENTH AMENDMENT
            EQUAL PROTECTION CLAUSE - CLASS OF ONE

       111. Defendant repeats and realleges her answers to paragraphs 1 through

110 above as if more fully set forth herein and same are adopted by reference.

       112. This Defendant admits that she was acting in her official capacity as a

Circuit Court Judge acting under color of state law. She neither admits nor denies

the balance of the allegation contained therein for the reason that it is directed

toward another Defendant.

       113. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       114. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       115. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       116. This Defendant denies the allegation contained therein for the reason

that it is untrue.




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       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.

               COUNT V - ALLEGED VIOLATION OF 42 USC 1985
                  CONSPIRACY TO VIOLATE CIVIL RIGHTS

       117. Defendant repeats and realleges her answers to paragraphs 1 through

116 above as if more fully set forth herein and same are adopted by reference.

       118. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       119. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       120. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       121. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.




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                      SUPPLEMENTARY STATE LAW CLAIMS

                         COUNT VI - ABUSE OF PROCESS

       122. Defendant repeats and realleges her answers to paragraphs 1 through

121 above as if more fully set forth herein and same are adopted by reference.

       123. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       124. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.

                     COUNT VII - ALLEGED CIVIL CONSPIRACY

       125. Defendant repeats and realleges her answers to paragraphs 1 through

124 above as if more fully set forth herein and same are adopted by reference.

       126. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       127. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       128. This Defendant denies the allegation contained therein for the reason

that it is untrue.


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       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.

           COUNT VIII - ALLEGED INTENTIONAL INFLICTION OF
                         EMOTIONAL DISTRESS

       129. Defendant repeats and realleges her answers to paragraphs 1 through

128 above as if more fully set forth herein and same are adopted by reference.

       130. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       131. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       132. This Defendant denies the allegation contained therein for the reason

that it is untrue.

       WHEREFORE, this Defendant respectfully requests this Honorable Court

enter a Judgment of No Cause for Action together with costs and attorney fees so

wrongfully sustained.

                                Respectfully submitted,

                                JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C.

                                s/ Christopher J. Johnson
                                Attorney for Judge Margaret Noe
                                27555 Executive Drive, Ste. 250
                                Farmington Hills, MI 48331
                                (248) 489-4100
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                                cjohnson@jrsjlaw.com
                                (P32937)
DATED: August 15, 2017

                          AFFIRMATIVE DEFENSES

     NOW COMES Defendant, the Honorable Margaret M.S. Noe, by and

through her Attorneys, JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C. by

CHRISTOPHER J. JOHNSON and for her Affirmative Defenses, state as follows:

     1.     Plaintiff has failed to state a cause of action upon which relief may be

granted.

     2.     This Defendant is entitled to absolute judicial immunity on the federal

and state counts.

     3.     This Defendant is entitled to governmental immunity with respect to

the state law counts.

     4.     Plaintiff has failed to take advantage of his state law remedies and

with the filing of this complaint, actually delayed his state law remedies.

     5.     In the event that this Court finds that there is any federal question, the

doctrine of abstention applies pending the resolution of this matter in state court.

     6.     Plaintiff's conduct is responsible for any damages he may have

suffered.

     7.     Plaintiff has unclean hands with respect to any equitable relief that

might be sought.


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      8.     This Defendant reserves the right to raise additional affirmative

defenses as they may become known.

                              Respectfully submitted,

                              JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C.

                              s/ Christopher J. Johnson
                              Attorney for Judge Margaret Noe
                              27555 Executive Drive, Ste. 250
                              Farmington Hills, MI 48331
                              (248) 489-4100
                              cjohnson@jrsjlaw.com
                              (P32937)
DATED: August 15, 2017

                        RELIANCE UPON JURY DEMAND

      NOW COMES Defendant, the Honorable Margaret M.S. Noe, by and

through her Attorneys, JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C. by

CHRISTOPHER J. JOHNSON and hereby rely upon the Jury Demand previously

filed in this matter.

                              Respectfully submitted,

                              JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C.

                              s/ Christopher J. Johnson
                              Attorney for Judge Margaret Noe
                              27555 Executive Drive, Ste. 250
                              Farmington Hills, MI 48331
                              (248) 489-4100
                              cjohnson@jrsjlaw.com
                              (P32937)
DATED: August 15, 2017


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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2017, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system, which will send
notification of such filing to all counsel of record; and I hereby certify that I have
mailed by United States Postal Service the paper to the following non-ECF
participants: [NONE]

                                 JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C.

                                 s/ Christopher J. Johnson
                                 Attorney for Judge Margaret Noe
                                 27555 Executive Drive, Ste. 250
                                 Farmington Hills, MI 48331
                                 (248) 489-4100
                                 cjohnson@jrsjlaw.com
                                 (P32937)




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